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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

RIVER POOLS & SPAS, INCORPORATED,
Plaintiff

Vv. Civil Action No. 3:10CV251
LATHAM INTERNATIONAL, INC., LATHAM
MANUFACTURING CORP., KAFKO (US)
CORP., COVERSTAR, LLC and VIKING

POOLS, LLC,

Defendants.

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VIKING POOLS, LLC,
Counterclaim Plaintiff
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RIVER POOLS & SPAS, INCORPORATED,
and MARCUS SHERIDAN,

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Counterclaim Defendants.

 

DEFENDANTS-COUNTERCLAIMANT’S MOTION TO SEVER

Defendants/Counterclaim Plaintiff, Latham International, Inc., Latham Manufacturing
Corp., Kafko (US) Corp., Coverstar, LLC and Viking Pools, LLC, (“Latham”), by counsel, and
pursuant to Rules 21 and 42(b) of the Federal Rules of Civil Procedure, respectfully request that
the Court sever Latham’s Counterclaim from the claims alleged in Plaintiff-Counterclaim
Defendants’ Amended Complaint. The issues to be tried in both are significantly distinct such
that a severance is warranted. Further, River Pools claims are to be tried before the Court while
Latham’s claims are to be tried before a jury. Finally, a severance solves River Pools trial date

conflict and obviates the need to continue the trial. Latham’s claims can go forward on the
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scheduled trial date and the Court can hold its bench trial of River Pools cybersquatting claims

at a later date that is convenient to the Court.

The reasons in support of this motion are more fully set forth in Latham’s Memorandum

in Support, filed contemporaneously herewith and incorporated by reference.

WHEREFORE, Latham respectfully requests that the Court sever Latham’s Counterclaim

from the claims asserted in River Pools’ Amended Complaint, and order such other and further

relief as the court deems just and proper.

Counsel admitted pro hac vice:

Respectfully submitted,

VIKING POOLS, LLC,
LATHAM INTERNATIONAL, INC., LATHAM

. MANUNFACTURING CORP., KAFKO (US)

 

CORP., and COVERSTAR, LLC
By: /sf
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CERTIFICATE OF SERVICE

I hereby certify that on the 5th day of January, 2011, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notice of
electronic filing (NEF) to the following:

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